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           Exhibit A
         State Court of Gwinnett County, Georgia
           Civil Action Number 23-C-03005-S3

Olivia C. Wiggins v. Salson Logistics, Inc; Chris Mususu;
     and Prime Property & Casualty Insurance, Inc.
     Case 1:23-mi-99999-UNA Document 1956-1 Filed 06/16/23 Page 2 of 26E-FILED IN OFFICE - KMG
                                                                                              CLERK OF STATE COURT
                                                                                          GWINNETT COUNTY, GEORGIA
                                                                                                  23-C-03005-S3
                                                                                                5/3/2023 6:17 PM
                                                                                             TIANA P. GARNER,CLERK

                          IN THE STATE COURT OF GWINNETT COUNTY
                                          STATE OF GEORGIA


   OLWIA C. WIGGINS;

           Plaintiff,
                                                        CIVIL ACTION 23-C-03005-S3
    V.                                                  FILE NO.

   SALSON LOGISTICS,INC.;                               JURY TRIAL DEMANDED
   CHRIS MUSUSU;and
   PRIME PROPERTY & CASUALTY
   INSURANCE INC.;

           Defendants.


                                 COMPLAINT FOR DAMAGES

         Plaintiff Olivia C. Wiggins files this Complaint for Damages against Defendants Salson

Logistics,Inc., Chris Mususu,and Prime Property & Casualty Insurance Inc., respectfully showing

the Court as follows.

                                  Parties, Jurisdiction, and Venue

                                                   1.

         Plaintiff seeks recovery for the personal injuries and other damages she suffered when

Defendant Chris Mususu ("Mususu") made an improper left turn and slammed into Plaintiff's

vehicle in Locust Grove, Georgia.

                                                   2.

         Plaintiff resides in Fulton County, Georgia. She submits to the jurisdiction of this Court.

                                                   3.

         Defendant Mususu resides and may be served with process at 7500 Prindle Lake Drive,

Charlotte, North Carolina 28227. He is subject to the jurisdiction of this Court.


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                                                  4.

         Defendant Salson Logistics, Inc., ("Salson") is a foreign profit corporation with its

principal place of business located at 888 Doremus Avenue, Newark, New Jersey 07114. It may

be served with process by serving its Registered Agent, CT Corporation System, at 289 S Culver

Street, Lawrenceville, Gwinnett County, Georgia 30046. It is subject to the jurisdiction of this

Court.

                                                  5.

         Upon information and belief,Prime Property & Casualty Insurance Inc.("Prime"),is a foreign

insurance company that was authorized to transact business in Georgia at the time ofthe automobile

collision that is the subject ofthis civil action Defendant Prime does not maintain a registered agent

in the State of Georgia and has not otherwise appointed a person who is a resident of the State of

Georgia to receive service ofprocess. Pursuant to 0.C.G.A.§ 33-5-3, it may be served by serving the

Commissioner ofInsurance, State of Georgia.

                                                  6.

         Venue is proper in Gwinnett County as to all Defendants pursuant to Ga. Const. art. VI,§ 2,

II IV and 0.C.G.A. § 9-10-31(b).

                                           Background

                                                  7.

         On May 12,2022,Plaintiff was turning left onto Stanley K.Tanger Boulevard from Tanger

Drive in Locust Grove. She was in the leftmost oftwo the left turn lanes present at that location.

                                                  8.

         At the same time, Defendant Mususu also was turning left onto Stanley K. Tanger

Boulevard from Tanger Drive. He was in the rightmost ofthe two left turn lanes.



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     Case 1:23-mi-99999-UNA Document 1956-1 Filed 06/16/23 Page 4 of 26




                                                   9.

        The commercial truck Defendant Mususu was operating was owned and made available

for his use by his employer, Defendant Salson.

                                                   10.

        Suddenly and without warning, Defendant Mususu swerved into Plaintiffs lane and

slammed his commercial truck into her vehicle (the "Subject Collision").

                                                   11.

        Upon information and belief, Defendant Mususu was distracted at the time of the Subject

Collision by his use ofa mobile phone or other electronic device.

                                                   12.

        Plaintiff was injured in the Subject Collision.

                                                   13.

       Plaintiff exercised care for her own safety at all relevant times, including the time of the

Subject Collision. She did not act or fail to act in any way that proximately caused the Subject

Collision or any of her injuries or damages.

                                                   14.

       The injuries proximately caused by Defendants' acts and omissions have resulted in

damages to Plaintiff, both economic and non-economic,including but not limited to medical bills;

costs and expenses; lost wages; physical pain and suffering; mental pain and suffering; and loss of

full enjoyment of life.

                                         COUNT ONE
                             Negligence of Defendant Chris Mususu

                                                   15.

       Plaintiff incorporates by reference the facts set forth in the preceding paragraphs.


COMPLAINT FOR DAMAGES — Page 3
     Case 1:23-mi-99999-UNA Document 1956-1 Filed 06/16/23 Page 5 of 26




                                                  16.

        At all relevant times, including the time ofthe Subject Collision, Defendant Mususu owed

the public generally, and Plaintiff specifically, duties of care while operating a motor vehicle on

the public roadways of Georgia.

                                                  17.

        At all relevant times, including the time of the Subject Collision, it was reasonably

foreseeable to Defendant Mususu that if he breached these duties it could result in a collision and

serious injury to others.

                                                  18.

        Nevertheless, Defendant Mususu breached the duties he owed to Plaintiff in the following

ways, resulting in the Subject Collision:

  (a)      Improperly changing lanes in violation of 0.C.G.A. § 40-6-123, which constitutes

           negligence per se;

  (b)      Driving too fast for conditions in violation of 0.C.G.A. § 40-6-180, which constitutes

           negligence per se;

  (c)      Failing to exercise due care in violation of 0.C.G.A. § 40-6-241, which constitutes

           negligence per se;

  (d)      Driving while distracted in violation of 0.C.G.A. §§ 40-6-241, -241.1, and -241.2,

           which constitutes negligence per se;

  (e)      Driving recklessly in violation of 0.C.G.A. § 40-6-390, which constitutes negligence

           per se;

  (0       Failing to maintain proper control of his vehicle;

  (g)      Failing to keep a proper lookout for traffic;



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    Case 1:23-mi-99999-UNA Document 1956-1 Filed 06/16/23 Page 6 of 26




   (h)      Failing to timely apply the brakes of his vehicle;

  (i)       Failing to make reasonable and proper observations while driving or, if reasonable and

            proper observations were made,failing to act upon them;

  (
  j0        Failing to follow the Hours-of-Service Regulations set forth in the Federal Motor

            Carrier Safety Regulations;

  (k)       Failing to follow the mandatory drug and alcohol testing requirements set forth in the

            Federal Motor Carrier Safety Regulations;

  (1)       Otherwise failing to act reasonably and prudently as a driver should under the

            circumstances; and

  (m)       Committing other negligent acts and omissions as may be shown by the evidence and

            proven at trial.

                                                  19.

         These acts and omissions constitute negligence on the part of Defendant Mususu.

                                                  20.

        Plaintiff suffered personal injuries as a result of Defendant Mususu's negligence.

                                                  21.

        Plaintiff is entitled to recover the economic and non-economic damages proximately

caused by Defendant Mususu's negligence.

                                           COUNT TWO
                               Vicarious Liability of Defendant Salson

                                                  22.

        Plaintiff incorporates by reference the facts set forth in the preceding paragraphs.

                                                  23.




COMPLAINT FOR DAMAGES — Page 5
     Case 1:23-mi-99999-UNA Document 1956-1 Filed 06/16/23 Page 7 of 26




        At all relevant times, including the time of the Subject Collision, Defendant Mususu was

operating the commercial truck in the course and scope of his employment with or agency of

Defendant Salson.

                                                  24.

        Accordingly, Defendant Salson is vicariously liable for the negligent acts and omissions of

Defendant Mususu pursuant to the doctrine of respondeat superior and the rules of agency.

                                         COUNT THREE
                               Direct Negligence of Defendant Salson

                                                  25.

        Plaintiff incorporates by reference the facts set forth in the preceding paragraphs.

                                                  26.

        In addition to being vicariously liable for the negligent acts and omissions of Defendant

Mususu, Defendant Salson was itself negligent in the following ways:

  (a)      Negligently hiring or contracting with Defendant Mususu to drive the commercial

           vehicle at issue;

  (b)      Negligently training Defendant Mususu;

  (c)      Negligently entrusting Defendant Mususu with the commercial vehicle;

  (d)      Negligently retaining Defendant Mususu to drive the commercial vehicle;

  (e)      Negligently qualifying Defendant Mususu;

  (0       Failing to supervise Defendant Mususu;

  (g)      Failing to follow the Federal Motor Carrier Safety Regulations;

  (h)      Otherwise failing to act as a reasonably prudent company under the circumstances; and

  (i)      Committing other negligent acts and omissions as may be shown by the evidence and

           proven at trial.


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     Case 1:23-mi-99999-UNA Document 1956-1 Filed 06/16/23 Page 8 of 26




                                                   27.

       Plaintiff suffered personal injuries as a result of Defendant Salson's negligence.

                                                  28.

       Plaintiff is entitled to recover the economic and non-economic damages proximately

caused by Defendant Salson's negligence.

                                         COUNT FOUR
                             Direct Action Against Defendant Prime

                                                  29.

       Plaintiffincorporates by reference the facts set forth in the preceding paragraphs.

                                                   30.

       Defendant Prime provided liability insurance for the driver and/or truck that were involved

in the Subject Collision in consideration of Defendant Salson's payment ofinsurance premiums.

                                                  31.

       Plaintiff, as a member of the public injured due to a common carrier's negligence, is a

third-party beneficiary to that agreement.

                                                  32.

        Accordingly, pursuant to 0.C.G.A. §§ 40-1-112 and/or 40-2-140, Defendant Prime is

subject to direct action for the claims asserted in this complaint.

                                         COUNT FIVE
                                        Punitive Damages

                                                  33.

       Plaintiff incorporates by reference the facts set forth in the preceding paragraphs.




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      Case 1:23-mi-99999-UNA Document 1956-1 Filed 06/16/23 Page 9 of 26




                                                   34.

         Defendants' actions, including but not limited to Defendant Mususu's use of a mobile phone

or other electronic device while driving a commercial truck and Defendant Salson's disregard for the

Federal Motor Carrier Safety Regulations, demonstrate either (a) willful misconduct, malice, fraud,

• wantonness, oppression, or that entire want of care which would raise the presumption of conscious

indifference to consequences, or(b)a specific intent to cause harm, entitling Plaintiff to an award of

punitive damages without limitation or cap.

                                           COUNT SIX
                             Litigation Expenses and Attorney's Fees

                                                   35.

         Plaintiff incorporates by reference the facts set forth in the preceding paragraphs.

                                                   36.

         Defendants have acted in bad faith, been stubbornly litigious,and caused Plaintiffunnecessary

trouble and expense, entitling him to recover his litigation expenses, including reasonable attorney's

fees, pursuant to 0.C.G.A. § 13-6-11.

                                        Plaintiff's Damages

                                                   37.

         Plaintiffseeks monetary damages from each Defendant for:

   (a)      All past, present, and future economic damages that result from, flow from, or were

            substantially caused by the Subject Collision, including but not limited to medical bills,

            costs and expenses,and lost wages,as will be shown more fully by the evidence at trial;

   (b)      All past, present, and future non-economic damages that result from, flow from, or

            were substantially caused by the Subject Collision,including but not limited to physical




COMPLAINT FOR DAMAGES — Page 8
   Case 1:23-mi-99999-UNA Document 1956-1 Filed 06/16/23 Page 10 of 26




            pain and suffering, mental pain and suffering, and loss of full enjoyment of life, in an

            amount to be determined by the enlightened conscience of an impartial jury;

  (c)      Punitive damages in an amount to be determined by the enlightened conscience of an

            impartial jury; and

  (d)      Litigation expenses, including reasonable attorney's fees.

                                                   38.

        Accordingly, Plaintiff respectfully requests the following relief:

 (a)       Service of the Summons and Complaint on each Defendant;

 (b)       A trial by jury on every appropriate issue;

 (c)       Judgment for Plaintiff and against each Defendant for Plaintiff's past, present, and

           future economic damages;

  (d)      Judgment for Plaintiff and against each Defendant for Plaintiff's past, present, and

           future non-economic damages;

 (e)       Judgment for Plaintiff and against each Defendant for punitive damages without

           limitation or cap;

 (f)       Judgment for Plaintiff and against each Defendant for Plaintiff's litigation expenses,

           including reasonable attorney's fees;

 (g)       That the costs of this action be cast against Defendants; and

 (h)       Any additional relief the Court deems appropriate.

        This 3rd day of May,2023.




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    Case 1:23-mi-99999-UNA Document 1956-1 Filed 06/16/23 Page 11 of 26




                                          WLG Atlanta, LLC


                                          /s/ Trevor E. Brice
                                          Trevor E. Brice
                                          Georgia Bar No. 847049
                                          Attorney for Plaintiff

Bank of America Plaza
600 Peachtree Street NE,Suite 4010
Atlanta, GA 30308
Telephone: 470-881-8804
Facsimile:    470-881-8819
E-Mail:       treyor.bricea,witheritelaw.com




COMPLAINT FOR DAMAGES — Page 10
  Case 1:23-mi-99999-UNA Document 1956-1 Filed 06/16/23 Page 12 of 26
                                                                   CT Corporation
                                                    Service of Process Notification
                                                                                                                 05/19/2023
                                                                                                    CT Log Number 543889578


Service of Process Transmittal Summary

TO:       UNDINE SCHWARZ
          Total Transportation Services
          18735 S FERRIS PL
          RANCHO DOMINGUEZ, CA 90220-6405

RE:       Process Served in Georgia

FOR:      SalSon Logistics, Inc. (Domestic State: GA)


ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                        Re: Olivia Wiggins // To: SalSon Logistics, Inc.

CASE #:                                 23C03005S3

NATURE OF ACTION:                       Personal Injury - Vehicle Collision

PROCESS SERVED ON:                      C T Corporation System, Lawrenceville, GA

DATE/METHOD OF SERVICE:                 By Process Server on 05/19/2023 at 10:45

JURISDICTION SERVED:                    Georgia

ACTION ITEMS:                           SOP Papers with Transmittal, via UPS Next Day Air , 1ZX212780114511602

                                        Image SOP

                                        Email Notification, UNDINE SCHWARZ undine@tts-i.com

                                        Email Notification, Donna Tillstrom dtillstrom@suncappart.com

                                        Email Notification, Melissa Therrien mtherrien@suncappart.com

REGISTERED AGENT CONTACT:               C T Corporation System
                                        289 S. Culver St.
                                        Lawrenceville, GA 30046
                                        866-203-1500
                                        DealTeam@wolterskluwer.com



The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion,
and should not otherwise be relied on, as to the nature of action, the amount of damages, the answer date, or any other
information contained in the included documents. The recipient(s) of this form is responsible for reviewing and interpreting the
included documents and taking appropriate action, including consulting with its legal and other advisors as necessary. CT
disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be
contained therein.




                                                                                                                      Page 1 of 1
                Case 1:23-mi-99999-UNA Document 1956-1 Filed 06/16/23 Page 13 of 26



                                                                       Wolters Kluwer
                               PROCESS SERVER DELIVERY DETAILS


•   Date:                                       Fri, May 19, 2023
    Server Name:                                Drop Service




     Entity Served                SALSON LOGISTICS INC

     Case Number                  23C03005S3
     J urisdiction                GA



                                                   Inserts
             Case 1:23-mi-99999-UNA Document 1956-1 Filed 06/16/23 Page 14 of 26
                                                                               E-FILED IN OFFICE - KMG
                                                                                                             CLERK OF STATE COURT
                                                                                                         GWINNETT COUNTY, GEORGIA
                                                                                                                  23-C-03005-S3
                             IN THE STATE COURT OF GWINNETT COUNTY
                                                                                                                5/3/2023 6:17 PM
                                                                                                            TIANA P. GARNER,CLERK

                                                 STATE OF GEORGIA
Olivia Wiggins


                                                                                                        23-C-03005-S3
                                                                                   CIVIL ACTION
                                                                                   NUMBER:

                                   PLAINTIFF


                      VS.

SALSON LOGISTICS, INC.

do Registered Agent CT Corporation System
289 S Culver Street, Lawrenceville, Georgia 30046

                                   DEFENDANT




                                                        SUMMONS

TO THE ABOVE NAMED DEFENDANT:                  SALSON LOGISTICS, INC.
  You are hereby summoned and required to file with the Clerk of said court and serve upon the Plaintiffs attorney, whose name
and address is:
                                      Trevor E. Brice - WLG Atlanta, LLC
                                      600 Peachtree Street NE, Suite 4010
                                      Atlanta, Georgia 30308


an answer to the complaint which is herewith served upon you, within 30 days after service of this summons upon you, exclusive of
the day of service. If you fail to do so,judgment by default will be taken against you for the relief demanded in the complaint.

This                      day of                                          , 20       .
              4th day of May, 2023
                                                                            Tiana P. Garner
                                                                           Clerk of State Court




                                                                                         Deputy Clerk

INSTRUCTIONS: Attach addendum sheet for additional parties if needed, make notation on this sheet if addendum sheet is used.

SC-1 Rev. 2011
                                                                       E-FILED IN OFFICE - JM
Case 1:23-mi-99999-UNA Document 1956-1 Filed 06/16/23 Page 15 of 26
                                                                  CLERK OF STATE COURT
                                                                 GWINNETT COUNTY, GEORGIA
                                                                          23-C-03005-S3
                                                                      5/26/2023 9:06 AM
                                                                    TIANA P. GARNER, CLERK
                                                                       E-FILED IN OFFICE - JM
Case 1:23-mi-99999-UNA Document 1956-1 Filed 06/16/23 Page 16 of 26
                                                                  CLERK OF STATE COURT
                                                                 GWINNETT COUNTY, GEORGIA
                                                                          23-C-03005-S3
                                                                      5/26/2023 9:06 AM
                                                                    TIANA P. GARNER, CLERK
                                                                                                E-FILED IN OFFICE - AK
       Case 1:23-mi-99999-UNA Document 1956-1 Filed 06/16/23 Page 17 of 26CLERK OF STATE COURT
                                                                                         GWINNETT COUNTY, GEORGIA
                                                                                                   23-C-03005-S3
                                                                                              6/16/2023 12:38 PM
                                                                                             TIANA P. GARNER, CLERK

                         IN THE STATE COURT OF GWINNETT COUNTY
                                    STATE OF GEORGIA

 OLIVIA C. WIGGINS,

                Plaintiff,
 v.
                                                            CIVIL ACTION FILE
 SALSON LOGISTICS, INC.; CHRIS                              NO. 23-C-03005-S3
 MUSUSU; and PRIME PROPERTY &
 CASUALTY INSURANCE, INC.,

                Defendants.


      ANSWER AND DEFENSES OF DEFENDANTS SALSON LOGISTICS, INC. AND
          CHRIS MUSUSU TO PLAINTIFF’S COMPLAINT FOR DAMAGES

        COME NOW Salson Logistics, Inc., (“Salson”), and Chris Mususu (individually “Mususu”

and collectively “defendants”), by and through counsel, and submit their answer and defenses to

plaintiff’s complaint for damages (“complaint”), showing the Court as follows:

                                        FIRST DEFENSE

        In whole or in part, plaintiff’s complaint fails to state a claim against defendants upon

which relief can be granted.

                                       SECOND DEFENSE

        In response to the numbered paragraphs of plaintiff’s complaint, defendants answer as

follows:

             Responding to: ALLEGED PARTIES, JURISDICTION AND VENUE

                                                  1.

        The allegations in plaintiff’s complaint do not require a response from defendants. To the

extent a response is required, defendants deny the allegations contained in paragraph 1 of

plaintiff’s complaint.
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                                                  2.

       Defendants do not possess sufficient information to form a belief as to the truth of the

allegations contained in paragraph 2 of plaintiff’s complaint, and thus can neither admit nor deny.

                                                  3.

       Defendants admit only that portion of the facts alleged in paragraph 3 of plaintiff’s

complaint that Mususu resides at the listed address and may be served in accordance with

applicable law. To the extent the allegations in paragraph 3 of plaintiff's complaint are inconsistent

with applicable law, they are denied.

                                                  4.

       Defendants admit only that portion of the facts alleged in paragraph 4 of plaintiff's

complaint that Salson is a foreign corporation with its principle place of business at the listed

address, and that it may be served in accordance with applicable law. To the extent the allegations

in paragraph 4 of plaintiff’s complaint are inconsistent with applicable law, they are denied.

                                                  5.

       Defendants do not have sufficient information to form a belief as to the truth of the

allegations contained in paragraph 5 of plaintiff’s complaint and thus can neither admit nor deny.

                                                  6.

       Defendants deny the allegations contained in paragraph 6 of plaintiff’s complaint.

                           Responding to: ALLEGED BACKGROUND

                                                  7.

       Defendants do not have sufficient information to form a belief as to the truth of the

allegations contained in paragraph 7 of plaintiff's complaint and thus can neither admit nor deny.




                                                -2-
      Case 1:23-mi-99999-UNA Document 1956-1 Filed 06/16/23 Page 19 of 26




                                                 8.

        Defendants admit the allegations contained in paragraph 8 of plaintiff’s complaint.

                                                 9.

        Defendants admit the allegations contained in paragraph 9 of plaintiff's complaint.

                                                 10.

        Defendants deny the allegations contained in paragraph 10 of plaintiff’s complaint.

                                                 11.

        Defendants deny the allegations contained in paragraph 11 of plaintiff's complaint.

                                                 12.

        Defendants do not have sufficient information to form a belief as to the truth of the

allegations contained in paragraph 12 of plaintiff's complaint and thus can neither admit nor deny.

                                                 13.

        Defendants deny the allegations contained in paragraph 13 of plaintiff's complaint.

                                                 14.

        Defendants deny the allegations contained in paragraph 14 of plaintiff's complaint.

         Responding to: COUNT ONE, Alleged Negligence of Defendant Chris Mususu

                                                 15.

        Defendants restate and incorporate all their responses to the proceeding paragraphs as if

fully stated herein.

                                                 16.

        Defendants admit only that portion of the facts alleged in paragraph 16 of plaintiff's

complaint that all drivers have duties imposed on them under Georgia law. To the extent the




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      Case 1:23-mi-99999-UNA Document 1956-1 Filed 06/16/23 Page 20 of 26




allegations contained in paragraph 16 of plaintiff’s complaint are inconsistent with Georgia law,

they are denied.

                                                  17.

        Defendants only that portion of the facts alleged in paragraph 17 of plaintiff's complaint

that the breach of any duty imposed on them under Georgia law could result in an accident and

potentially cause injury. Insofar as plaintiff insinuates or alleges that defendants have breached

any duty owed to plaintiff, those allegations are denied.

                                                  18.

        Defendants deny the allegations contained in paragraph 18 of plaintiff's complaint,

including subparagraphs (a) through (m).

                                                  19.

        Defendants deny the allegations contained in paragraph 19 of plaintiff’s complaint.

                                                  20.

        Defendants deny the allegations contained in paragraph 20 of plaintiff's complaint.

                                                  21.

        Defendants deny the allegations contained in paragraph 21 of plaintiff's complaint.

         Responding to: COUNT TWO, Alleged Vicarious Liability of Defendant Salson

                                                  22.

        Defendants restate and incorporate all their responses to the proceeding paragraphs as if

fully stated herein.

                                                  23.

        Defendants admit the allegations contained in paragraph 23 of plaintiff's complaint.




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                                                 24.

        Defendants admit only that portion of the facts alleged in paragraph 24 of plaintiff’s

complaint that Mususu was Salson’s employee and was acting in the course and scope of his

employment at all relevant times. Defendants deny the remaining allegations contained in

paragraph 24 of the plaintiff’s complaint.

        Responding to: COUNT THREE, Alleged Direct Negligence of Defendant Salson

                                                 25.

        Defendants restate and incorporate all their responses to the proceeding paragraphs as if

fully stated herein.

                                                 26.

        Defendants deny the allegations contained in paragraph 26 of plaintiff's complaint,

including subparagraphs (a) through (i).

                                                 27.

        Defendants deny the allegations contained in paragraph 27 of plaintiff's complaint.

                                                 28.

        Defendants deny the allegations contained in paragraph 28 of plaintiff's complaint.

        Responding to: COUNT FOUR, Alleged Direct Action Against Defendant Prime

                                                 29.

        Defendants restate and incorporate all their responses to the proceeding paragraphs as if

fully stated herein.




                                               -5-
      Case 1:23-mi-99999-UNA Document 1956-1 Filed 06/16/23 Page 22 of 26




                                                 30.

        Defendants admit only that portion of the facts alleged in paragraph 30 of plaintiff’s

complaint that Prime wrote a policy of insurance for Salson and that coverage under that policy is

controlled by the terms and conditions of that policy.

                                                 31.

        Defendants deny the allegations contained in paragraph 31 of plaintiff’s complaint.

                                                 32.

        Defendants do not have sufficient information to form a belief as to the truth of the

allegations contained in paragraph 32 of plaintiff's complaint and thus can neither admit nor deny.

                       Responding to: COUNT FIVE, Alleged Punitive Damages

                                                 33.

        Defendants restate and incorporate all their responses to the proceeding paragraphs as if

fully stated herein.

                                                 34.

        Defendants deny the allegations contained in paragraph 34 of plaintiff’s complaint.

         Responding to: COUNT SIX, Alleged Litigation Expenses and Attorney’s Fees

                                                 35.

        Defendants restate and incorporate all their responses to the proceeding paragraphs as if

fully stated herein.

                                                 36.

        Defendants deny the allegations contained in paragraph 36 of plaintiff’s complaint.




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     Case 1:23-mi-99999-UNA Document 1956-1 Filed 06/16/23 Page 23 of 26




                             Responding to: Plaintiff’s Alleged Damages

                                                     37.

          Plaintiff does not set forth any allegations in paragraph 37 of plaintiff's complaint,

however, out of an abundance of caution, defendants deny all allegations in paragraph 37 of

plaintiff's complaint, including subparagraphs (a) through (d).

                                                     38.

          Responding to paragraph 38 of plaintiff’s complaint, defendants deny the allegations in the

paragraph, including subparagraphs (a) through (h) thereof, and further deny that plaintiff is

entitled to any relief requested either in form or in amount.

                                                     39.

          All other allegations in the complaint not hereinbefore specifically responded to, are hereby

denied.

                                          THIRD DEFENSE

          No act or omission of defendants either proximately caused or contributed to whatever

damage the plaintiff may have sustained, and on account thereof, plaintiff is not entitled to recover

any sum from defendants.

                                         FOURTH DEFENSE

          The occurrence complained of was caused, produced, and brought about directly and

proximately by the negligence of the plaintiff, and on account thereof, plaintiff is not entitled to

recover any sum from defendants.

                                          FIFTH DEFENSE

          Plaintiff, by the exercise of legally applicable standard of care, could have avoided being

injured, and on account thereof, plaintiff is not entitled to recover any sum of defendants.




                                                  -7-
      Case 1:23-mi-99999-UNA Document 1956-1 Filed 06/16/23 Page 24 of 26




                                         SIXTH DEFENSE

        The negligence of plaintiff equaled or preponderated over any act or omission of

defendants in producing and bringing about the occurrence complained of, and on account thereof,

plaintiff is not entitled to recover any sum of defendants.

                                       SEVENTH DEFENSE

        Defendants plead all affirmative defenses which they may be required to plead pursuant to

and as provided by O.C.G.A. § 9-11-8(c) and O.C.G.A. § 9-11-12(b) and (h) and incorporate all

defensive matters set forth in those statutory provisions herein as if affirmatively set forth any

other defenses as investigation and discovery in the above-captioned matter continues.

                                        EIGHTH DEFENSE

        To the extent as may be shown by the evidence through discovery, defendants assert the

defenses of assumption of the risk, contributory/comparative negligence, failure of plaintiff to

exercise the applicable legal standard of care for plaintiff’s own safety, failure to avoid

consequences, failure to mitigate damages, accord and satisfaction, arbitration and award,

discharge in bankruptcy, duress, estoppel, failure of consideration, fraud, illegality, injury by

fellow servant, laches, insufficient service and/or process, last clear chance, license, payment,

release, res judicata, statute of frauds, statute of limitations, lack of jurisdiction, sudden emergency,

and waiver.

                                         NINTH DEFENSE

        Defendants reserve the right to plead and prove such other defenses as may become known

to them during their investigation and discovery.




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       WHEREFORE, having fully answered plaintiff’s complaint, defendants pray that:

       1.     Plaintiff’s complaint against them be dismissed;

       2.     Judgment be entered in favor of defendants;

       3.     Defendants be awarded reasonable attorney’s fees and costs;

       4.     All costs be taxed against plaintiff; and

       5.     Any further relief that is just and appropriate be granted to defendants.


       Respectfully submitted this 16th day of June, 2023.

                                                 FREEMAN MATHIS & GARY, LLP

                                                 /s/ Wayne S. Melnick
                                                 WAYNE S. MELNICK
                                                 Georgia Bar No. 501267

                                                 /s/ David M. Harding
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                                                 Georgia Bar No. 708591

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                                   CERTIFICATE OF SERVICE

           I hereby certify that I have this day electronically submitted the foregoing ANSWER AND

DEFENSES OF DEFENDANTS SALSON LOGISTICS, INC. AND CHRIS MUSUSU TO

PLAINTIFF’S COMPLAINT FOR DAMAGES to the Clerk of Court using the Court’s e-filing

system which will automatically send electronic mail notification of such filing to the following:

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           This 16th day of June, 2023.

                                                   /s/ Wayne S. Melnick
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                                                   Attorney for Defendants Salson Logistics, Inc.
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